 Case 17-10669-KHK                      Doc 13 Filed 06/15/17 Entered 06/16/17 00:30:08                         Desc Imaged
                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Dexter L Prioleau                                            Social Security number or ITIN   xxx−xx−8825
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 17−10669−KHK



Discharge of Debtor                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Dexter L Prioleau


           June 12, 2017                                                  For the court:              William C. Redden
                                                                                                      Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                 Case No. 17-10669-KHK
Dexter L Prioleau                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-9          User: admin                  Page 1 of 2                   Date Rcvd: Jun 13, 2017
                              Form ID: 318                 Total Noticed: 44


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 15, 2017.
db             +Dexter L Prioleau,    18626 Triangle St.,     Triangle, VA 22172-1919
13782932       +AARP,    POB 29830,   Hot Springs National Park, AR 71903-9830
13782933      #+Ackerman Security,    6824 Industrial Dr,     Beltsville, MD 20705-1274
13782936       +Akerman Security,    12240 Kiln Court Suite C,     Beltsville, MD 20705-1301
13782937       +American Collections Enterprise Inc,      205 S Whiting St Ste 500,   Alexandria, VA 22304-3632
13782939       +Comcast,    10946 Golden West Drive,    Suite 190,    Hunt Valley, MD 21031-8218
13782940       +Debt Recovery Solution,     900 Merchants Concourse,    Westbury, NY 11590-5142
13782930       +Early Warning Services,     16552 N 90th St.,    Scottsdale, AZ 85260-1619
13782924        Equifax Check Services,     PO Box 30272,    Tampa, FL 33630-3272
13782927       +Experian,    475 Anton Blvd,    Costa Mesa, CA 92626-7037
13782942       +Express Lanes,    PO BOX 28148,    New York, NY 10087-8148
13782943       +Fairfax County Gen. Dist. Ct,     4110 Chain Bridge Rd.,    Fairfax, VA 22030-4049
13782945       +Franklin Collection Service, Inc,     Po Box 3910,    Tupelo, MS 38803-3910
13782947        Geico,    One Geico Plaza,    Bethesda, MD 20810-0001
13782946        Geico,    One Geico Plaza,    Bethesda, MD 20811-0001
13782948       +MacDoc Property Management LLC,     1601 Princess Anne St,    Fredericksburg, VA 22401-3522
13782950       +Piedmont Fine Properties,     25 S 4th St #200,    Warrenton, VA 20186-3307
13782951       +Pinnacle Financial G,    8311 Wisconsin Ave,     Bethesda, MD 20814-3126
13782953        Professional Account Managemen,     PO BOX 37038,    Washington, DC 20013-7038
13782954        Progressive,    P.O. Box 182009,    Columbus, OH 43218-2009
13782955       +Progressive Insurance,     POB 43258,   Cleveland, OH 44143-0258
13782958        Service Authority,    PO Box 2266,    Woodbridge, VA 22195-2266
13782959       +Social Security Administration,     PO Box 17719,    Baltimore, MD 21235-7719
13782961       +Sunrise Credit Serives Inc.,     260 Airport Plaza, Blvd,    Farmingdale, NY 11735-4021
13782962        TD Bank,    1707 Route 70 East,    Cherry Hill, NJ 08034-0000
13782926       +TransUnion,    P.O. Box 2000,    Chester, PA 19022-2000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: BJMMEIBURGER.COM Jun 14 2017 01:53:00       Janet M. Meiburger,
                 The Meiburger Law Firm, P.C.,    1493 Chain Bridge Road, Suite 201,      McLean, VA 22101-5726
13782934       +E-mail/Text: amscbankruptcy@adt.com Jun 14 2017 02:05:17        ADT,    7399 Boston Blvd,
                 Springfield, VA 22153-2805
13782931       +EDI: AAEO.COM Jun 14 2017 01:53:00      Aaron’s Sales & Lease,     5087 Jefferson Davis Highway,
                 Fredericksburg, VA 22408-4263
13782935       +EDI: AFNIRECOVERY.COM Jun 14 2017 01:53:00       Afni,    Po Box 3427,
                 Bloomington, IL 61702-3427
13782938       +EDI: CAPITALONE.COM Jun 14 2017 01:53:00       Capital One,
                 Attn: General Correspondence/Bankruptcy,    Po Box 30285,     Salt Lake City, UT 84130-0285
13782923       +Fax: 602-659-2196 Jun 14 2017 02:59:31      ChexSystems,     Attn: Consumer Relations,
                 7805 Hudson Rd., Suite 100,    Saint Paul, MN 55125-1703
13782941       +E-mail/Text: bknotice@erccollections.com Jun 14 2017 02:04:26         ERC/Enhanced Recovery Corp,
                 8014 Bayberry Rd,    Jacksonville, FL 32256-7412
13782944       +EDI: BLUESTEM Jun 14 2017 01:53:00      Fingerhut,     6250 Ridgewood Rd,
                 Saint Cloud, MN 56303-0820
13782928        EDI: IRS.COM Jun 14 2017 01:53:00      Internal Revenue Service - VA,      Centralized Insolvency,
                 P.O. Box 7346,    Philadelphia, PA 19101-7346
13782952       +E-mail/Text: mturner@pwcgov.org Jun 14 2017 02:04:05        Prince William County,    po box 2467,
                 Woodbridge, VA 22195-2467
13782960        EDI: NEXTEL.COM Jun 14 2017 01:53:00      Sprint,    PO Box 569670,     Dallas, TX 75356-9670
13782956       +EDI: DRIV.COM Jun 14 2017 01:53:00      Santander Consumer,     PO Box 660633,
                 Dallas, TX 75266-0633
13782957       +EDI: DRIV.COM Jun 14 2017 01:53:00      Santander Consumer USA,      Po Box 961245,
                 Ft Worth, TX 76161-0244
13782925       +E-mail/Text: crwkflw@firstdata.com Jun 14 2017 02:04:52        Telecheck Services, Inc.,
                 5251 Westheimer,    Houston, TX 77056-5416
13782964       +EDI: VERIZONCOMB.COM Jun 14 2017 01:53:00       Verizon,    POB 920041,    Dallas, TX 75392-0041
13782963        EDI: VERIZONCOMB.COM Jun 14 2017 01:53:00       Verizon,    PO Box 17577,
                 Baltimore, MD 21297-0513
13782929        E-mail/Text: bkr@taxva.com Jun 14 2017 02:04:58        Virginia Department of Taxatio,
                 PO Box 2156,   Richmond, VA 23218-2156
13782965       +E-mail/Text: ebankruptcy@woodforest.com Jun 14 2017 02:04:43         Woodforest National Bank,
                 PO Box 7889,   Spring, TX 77387-7889
                                                                                                TOTAL: 18

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
13782949        Mattco. JEFF EAST
                                                                                              TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 318                       Total Noticed: 44


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 15, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 12, 2017 at the address(es) listed below:
              Janet M. Meiburger   trustee@meiburgerlaw.com, VA41@ecfcbis.com
              Tommy Andrews, Jr.    on behalf of Debtor Dexter L Prioleau tandrews@andrewslaw.net,
               khill@andrewslaw.net;tetiana@andrewslaw.net;erin@andrewslaw.net;nathan@andrewslaw.net
                                                                                            TOTAL: 2
